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11
12
                             UNITED STATES DISTRICT COURT
13
                            CENTRAL DISTRICT OF CALIFORNIA
14
15
16   JENNIFER BENTLEY, as trustee of the              No.15-cv-07870-DMG (AJWx)
     2001 Bentley Family Trust, and others
17   similarly situated.                              MEMORANDUM OF POINTS
                                                      AND AUTHORITIES IN
18                                  Plaintiff,        SUPPORT OF PLAINTIFF’S
                                                      MOTION FOR CLASS
19            v.                                      CERTIFICATION
20   UNITED OF OMAHA LIFE                             Date: March 30, 2018
     INSURANCE COMPANY; and DOES 1                    Time: 9:30 a.m.
21   TO 50, inclusive,                                Judge: Hon. Dolly M. Gee
                                                      Courtroom: 8C
22                               Defendants.
                                                      [Filed with Notice of Motion,
23                                                    Declaration of John Bjork and
24                                                    Proposed Order]

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1                                             I.      INTRODUCTION
2             Plaintiff, Jennifer Bentley, is a widow and trustee of the family trust that is the
3    designated beneficiary of a $1 million term life insurance policy issued by defendant
4    United of Omaha Life Insurance Company to Plaintiff’s late husband Eric Bentley.
5    Defendant has wrongfully, and in bad faith, denied Plaintiff’s claim under the life
6    insurance policy. This Court has already held that California law required Defendant
7    to provide Mr. Bentley, and other policyholders, an opportunity to designate third
8    parties to receive notices to prevent lapses due to non-payment of premiums. Yet,
9    Defendant continues to drive right over the Court’s rulings, hiding behind a flawed
10   and discredited interpretation of California law to continue to deny Plaintiff’s claim.
11   Because Ms. Bentley is not the only one that the Defendant has improperly denied
12   life-insurance benefits to, Plaintiff filed this class action to remedy the wrongful lapse
13   and termination of the policies of her husband and the class.
14            This litigation specifically concerns Defendant’s failure to comply with
15   California Insurance Code sections 10113.71 and 10113.72 (collectively the Statutes).
16   In discovery, Defendant confirmed that it terminated (Plaintiff contends improperly)
17   numerous life insurance policies that were renewed in California after January 1, 2013
18   (the Statutes’ effective date) without providing the required statutory notice to
19   policyholders and their designated third parties (the Notices). Although the argument
20   has been thrice rejected by this Court, Defendant stubbornly persists in arguing that it
21   was not required to provide the required Notices, because the Statutes do not apply to
22   policies issued before 2013, even though the policyholder renewed the policy in
23   California after January 1, 2013, as Mr. Bentley did.
24            Pursuant to Fed. R. Civ. P. 23(a) and 23(b)(3), Plaintiff seeks certification of the
25   following class:
26                     All beneficiaries who made a claim, or would have been
                       eligible to make a claim, for the payment of benefits on life
27
                       insurance policies renewed, issued or delivered by Omaha in
28
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1                      the State of California that lapsed or were terminated by
                       Omaha for the non-payment of premium after January 1,
2
                       2013, and as to which policies one or more of the notices
3                      described by Sections 10113.71 and 10113.72 of the
                       California Insurance Code were not sent by Omaha prior to
4
                       lapse or termination.1
5
              This case is particularly well-suited for class treatment because satisfaction of
6
     Rule 23(a)(2) and (b)(3)’s commonality and predominance requirements are fairly
7
     obvious. The core facts – Defendant’s failure to provide the Notices for policies
8
     renewed in California after the Statutes’ effective date and subsequent lapse of such
9
     policies for non-payment of premiums - are undisputed and common to every class
10
     member. Similarly, the primary legal issue – whether the Statutes apply to policies
11
     issued before January 1, 2013 and renewed in California after the Statutes’ effective
12
     date – is the same as to all class members and can be resolved in one stroke.
13
              Rule 23’s other requirements are likewise satisfied with ease. Putative class
14
     members are identifiable from Defendant’s records and the class is comprised of over
15
     50 members who are geographically dispersed throughout California and several
16
     states. Numerosity under Rule 23(a)(1) is thus met.
17
         1
18        The phrase – “prior to lapse or termination” - is not in the class definition in the
     operative complaint. But, without this language, Defendant could destroy the existing
19   proposed class by sending Notices to those policyholders who otherwise fit the class
20   definition. In fact, Discovery has revealed that Defendant sent at least a handful of
     notices to policyholders of lapsed policies after lapse but did not reinstate those
21   policies. These policies should be included in the class as the beneficiaries were
     wrongfully denied benefits under common factual circumstances. Modification of the
22   class definition at the class certification stage is entirely appropriate. See Gray v.
     County of Riverside, 2014 U.S. Dist. LEXIS 150884, at *37 (C.D. Cal. Sept. 2, 2014)
23   (permitting modification to class definition as part of class certification briefing to
24   make the class objectively identifiable); In re Cathode Ray Tube (CRT) Antitrust
     Litig., 308 F.R.D. 606, 619-20 (N.D. Cal. 2015) (permitting expansion of class
25   definition from that proposed in complaint); In re TFT-LCD Antitrust Litig., 267
     F.R.D. 583, 591 (N.D. Cal. 2010) (allowing revisions to class definition during class
26   certification briefing because “…the proposed modifications are minor, require no
27   additional discovery, and cause no prejudice to defendants.”); Menking v.Daines, 287
     F.R.D. 174, 181 (S.D.N.Y. 2012) (court permits plaintiff to broaden class definition to
28   statewide versus citywide class in complaint).
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1             The typicality and adequacy requirements of 23(a)(3) and (4) are also satisfied.
2    Because Plaintiff’s claims, just like those of all class members, are premised on
3    Defendant’s failure to provide the Notices following a policy renewal in California,
4    she is a typical representative of the class and will adequately protect the class’s
5    interests. Moreover, Plaintiff is represented by counsel with extensive experience in
6    the class action context generally, and the insurance context in particular, all of whom
7    can, have and will prosecute this action competently and vigorously.
8             Finally, adjudication of this matter on a class-wide basis is plainly superior to
9    individual lawsuits. Many class members have relatively small claims. The potential
10   recoveries on such claims would quickly be surpassed by the costs and other burdens
11   of litigation, which, if Defendant’s rigorous defense against Plaintiff’s claims is any
12   indication, would surely be significant. Additionally, because the class members are
13   beneficiaries and not policyholders, many are likely unaware of their claims.
14   Certification would result in the issuance of notice apprising them of their claims.
15   These facts, in conjunction with the judicial inefficiency of individual lawsuits and
16   possibility of inconsistent judgments, strongly support a finding of superiority under
17   Rule 23(b)(3).
18            Plaintiff respectfully requests that her Motion for Class Certification (Motion)
19   be granted.
20                 II.      FACTUAL AND OTHER BACKGROUND RELEVANT
                                  TO CLASS CERTIFICATION
21
              The Statutes went into effect on January 1, 2013 (the Effective Date) and
22
     established the Notices’ requirements. See Cal. Ins. Code § 10113.71-72. The Notices
23
     require, among other things, that life insurers: 1) give their policyholders notice of an
24
     opportunity to designate a third party to receive notice of a potential termination of
25
     benefits for non-payment of a premium; 2) provide notice to the designated third
26
     parties of any non-payment of a premium prior to terminating any policy; and 3)
27
     provide policyholders 30 days written notice prior to cancellation. Id. The public
28
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1    policy underlying the Statutes is to protect individuals from losing coverage under
2    their life insurance policies resulting from a missed payment. See Plaintiff’s Third
3    Amended Class Action Complaint and Demand for Jury Trial, Dkt. No. 87 at ¶¶ 3-4.
4    Under California law, the remedy available for breaching insurance contracts due to
5    violations of the Statutes is the amount of the policy. See Cal. Ins. Code § 10111.
6             In February 2001, Defendant issued a $1 million term life insurance policy to
7    Plaintiff’s husband, Mr. Eric Bentley (the Policy) See Declaration of John Bjork
8    (Bjork Dec.)(the Policy), “Exhibit A” at UNITED-000005.2 Pursuant to the Policy,
9    Mr. Bentley was able to renew on a yearly basis for successive one-year periods until
10   February 28, 2060, at which point he would have reached the age of 95. Id. at
11   UNITED-000009. Mr. Bentley made his premium payments for 13 years, some after
12   the Effective Date, and, as a result, the Policy renewed each year and coverage
13   remained in force without interruption during that time. See Defendant Answer
14   (Answer), Dkt. No. 108 at ¶ 29. On October 28, 2014, Defendant lapsed coverage
15   under the Policy for the non-payment of the premiums. See Bjork Dec. (Termination
16   Letter), “Exhibit B.” Less than two weeks later, on November 7, 2014, Mr. Bentley
17   died. See Answer at ¶ 31. Then, on behalf of the family trust, Ms. Bentley made a
18   claim on the Policy which Defendant denied. Id. at ¶¶34-35. It is undisputed that
19   Defendant never provided Mr. Bentley or any designee with the Statutes’ required
20   Notices. See Answer at ¶ 32; Bjork Dec. (Transcript of D. Kallenbach, Senior Systems
21   Business Consultant at Mutual of Omaha) (Kallenbach Tran.), “Exhibit C” at 44:18-
22   22, 58:6-10.
23            The Defendant claims that despite the fact that Mr. Bentley’s Policy renewed3 in
24   California after the Effective Date, the Notices were not required because Mr.
25
         2
           As required by the Court’s standing order, all exhibits cited in the Motion are
26   attached to the declaration of Plaintiff’s attorney, John P. Bjork, filed in conjunction
27   with the Motion.
         3
           The California Insurance Code defines “renew” as “continued in force on or after
28   the policy’s anniversary date.” Cal. Ins. Code Section 10110.6. Case law interpreting
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1    Bentley’s Policy was initially issued prior to the Statutes’ Effective Date. See Answer
2    at ¶ 2. Defendant took this position – that the Statutes do not apply to renewals – with
3    respect to not only Mr. Bentley’s Policy, but all policies it issues, delivers or renews in
4    California. See Bjork Dec. (Kallenbach Tran.), Ex. C at 39:10-19; 45:23-47:18; 51:11-
5    56:7; 57:10-60:3. In other words, Defendant had a uniform company practice not to
6    issue the Notices in connection with a policy renewal in California. Id. Defendant’s
7    practice continued after the filing of Plaintiff’s complaint and, incredibly, even after
8    this Court’s rulings that Statutes do apply to policy renewals in California. 4
9             Defendant’s narrow interpretation of the Statutes was developed in early 2013,
10   without consulting legal counsel, industry groups, the Department of Insurance or
11   anyone else outside of Defendant. See Bjork Dec. (Transcript of K. Meyerring,
12   Product and Advertising Compliance Consultant at Mutual of Omaha) (Meyerring
13   Tran.), “Exhibit D” at 32:2-33:2; 36:20-48:8. Defendant’s narrow interpretation was
14   implemented despite knowing at that time that an industry association had reported,
15   based on a communication with the Department of Insurance, that the Statutes applied
16   to renewals. See Id. at 38:16-40:19. Although discovery remains ongoing, the record
17   developed to date shows that, unlike Defendant, at least one other life insurer began
18   issuing the Notices on policies regardless of issue date as soon as the Statutes went
19
20
21
     the term “anniversary date” has defined it to mean “the annual recurrence of the
22   policy’s effective date.” See Williams v. Std. Ins. Co., 2017 U.S. Dist. LEXIS 59813
     (E.D. Cal. Apr. 19, 2017); Curran v. United of Omaha Life Ins. Co., 38 F. Supp. 3d
23   1184, 1191-92 (S.D. Cal. 2014). The class members Defendant has identified were all
     beneficiaries of policies that renewed in California after the Effective Date under this
24   definition.
25      4
          On or around October 21, 2016, in response to this lawsuit, Defendant began
     issuing the Notices for in-force policies initially issued in California regardless of
26   when they were first issued. See Bjork Dec. (Kallenbach Tran.), Ex. C 102:3 at 63:8-
27   64:5. However, Defendant did not issue Notices on policies that lapsed before that
     date, nor has Defendant provided the Notices for any policies that were issued outside
28   California but renewed within California. Id. at 66:25-67:5.
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1    into effect.5 See Bjork Dec. (Declaration of Northwestern Mutual Insurance)(NW
2    Dec.), “Exhibit E” at ¶ 6.
3             Plaintiff is currently aware of at least approximately 250 policies that were
4    renewed within California by Defendant after the Effective Date and thereafter lapsed
5    by Defendant for non-payment of a premium after the renewal without first providing
6    the Notices. See Bjork Dec. (Kallenbach Tran.), Ex. C at 100:22-102:3. The insureds
7    on 45 of these policies have passed away, of which there are 53 beneficiaries with
8    eligible claims who live in various parts of California, Tennessee, Arizona, Nevada,
9    Michigan, Massachusetts and Texas. See Bjork Declaration (Defendant lists of
10   beneficiaries fitting class definition)(Class Lists), “Exhibit F.” 6 The face value of the
11   claims on the policies vary, with many being $5,000 or less. Id. at UNITED 001252-
12   001253. Other than Plaintiff’s lawsuit, there are no other known suits that have been
13   filed against Defendant by any of the other eligible beneficiaries on the lapsed
14   policies.
15            Plaintiff filed this class action to remedy what she believes was a wrongful and
16   bad-faith cancellation of her husband’s policy and all other policies renewed in
17   California after the Effective Date for which the Notices were not provided. See Bjork
18   Dec. (Declaration of Jennifer Bentley) (Bentley Declaration), “Exhibit G” at ¶¶2, 4.
19   To achieve this objective, Plaintiff has retained counsel with extensive class action and
20   insurance law experience. See Bjork Dec. (Attorney and Firm Descriptions) (Attorney
21   Descriptions), “Exhibit H.” Further, she has familiarized herself with the facts of the
22
         5
          For the purpose of establishing her bad-faith claims, Plaintiff issued subpoenas to
23   several other insurers to determine how they interpreted the applicability of the
     Statutes to renewals and what actions they took to comply with the Statutes. To date,
24   Northwestern is the only insurer to provide information that answers this question.
25   Plaintiff’s counsel is in the process of meeting and conferring with counsel for the
     remaining insurers to obtain this important discovery.
26      6
          According the Defendant, Policy No. 7864066 was included on their list of
27   policies lapsed for non-payment of premiums by mistake and was not in fact lapsed
     for non-payment of premium. Plaintiff has therefore excluded this policy from the
28   foregoing numbers.
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1    case and legal theories, she has worked diligently to comply with Defendant’s
2    discovery requests (including sitting for a four-hour deposition that covered extensive
3    irrelevant personal matters concerning her divorce from her husband) and she is
4    willing to appear and testify at trial if needed. Bjork Dec. (Bentley Declaration), Ex. G
5    at ¶¶ 3, 5-7. Put simply, Plaintiff has done and is committed to continue doing what is
6    necessary to successfully prosecute the claims of her putative class. Id.
7                                                III.       ARGUMENT
8    A.       Plaintiff’s putative class satisfies each of Rule 23(a)’s requirements.
9             Rule 23(a) has four familiar requirements: 1) numerosity; 2) commonality; 3)
10   typicality; and 4) adequacy. Aba v. Papa John’s USA, 2007 U.S. Dist. LEXIS 28079,
11   at *15 (C.D. Cal. Feb. 7, 2007). Plaintiff and her putative class are ascertainable and
12   plainly satisfy each of these requirements.
13            1.       Plaintiff’s putative class has and can be ascertained from
                       Defendant’s records.
14
              Unlike some circuits, the Ninth Circuit does not have an express
15
     “ascertainability” requirement for certification under Rule 23. See Briseno v. Con
16
     Agra Foods, Inc. 844 F. 3d 1121, 1124-1125, fn 4 (9th Cir. 2017) (“[Defendant] cites
17
     no other precedent to support the notion that our court has adopted an
18
     ‘ascertainability’ requirement. This is not surprising because we have not.”) However,
19
     even if there is no formal requirement, Plaintiff’s class is ascertainable.
20
              Defendant’s records identify the class members. See Bjork Dec. (Class Lists),
21
     Ex. F. Through queries of its internal database systems, Defendant can and has
22
     identified beneficiaries of policies that were renewed in California after the Effective
23
     Date, lapsed after renewal for non-payment of premiums and to which the Notices
24
     were not sent before the lapse and where the insured has since died. See Id.; Bjork
25
     Dec. (Kallenbach Tran.), Ex. C at 100:22-102:7. Identifying deceased insureds
26
     involves consulting an internal death master file that Defendant maintains, and which
27
     is regularly updated and populated by the federal government’s death master file. See
28
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1    Bjork Dec. (Kallenbach Tran.), Ex. C at 102:4-104:12. This ability to identify class
2    members through objective criteria renders Plaintiff’s class ascertainable. See
3    Ellsworth v. U.S. Bank, N.A., 2014 U.S. LEXIS 81646, at **37-44 (N.D. Cal. June 13,
4    2014) (a class of home loan borrowers ascertainable because they could be identified
5    through Defendant bank’s loan records); Vaccarino v. Midland Nat’l Life Ins. Co.,
6    2013 U.S. Dist. LEXIS 88612, at *16 (C. D. Cal. June 17, 2013) (class of annuity
7    holders “readily ascertainable” from Defendant’s own “books and records”).
8             2.       Plaintiff’s class of over 50 members exceeds the Ninth Circuit’s
                       numerosity threshold.
9
              To meet Rule 23(a)(1)’s numerosity requirement, joinder need not be
10
     impossible. Rannis v. Recchia, 380 Fed. Appx. 646, 650 (9th Cir. 2010). All that is
11
     required is that putative class members would suffer a strong litigation hardship or
12
     inconvenience if joinder were required. Id. In general, this hardship is presumed, and
13
     numerosity is met, when a class includes at least 40 members. Id. at 651. See also In re
14
     Toys R Us – Delaware, Inc. v. Fair & Accurate Credit Transactions Act Litig., 300
15
     F.R.D 347, 367-368 (C.D. Cal. 2013) (“…classes of 40 or more are numerous
16
     enough”); Alba, 2007 U.S. Dist. LEXIS 28079 at * 17 (noting that “…pertinent Ninth
17
     Circuit authority... holds that a class consisting of 39 people is large enough to satisfy
18
     the numerosity requirement”). In fact, courts in this circuit have held that classes
19
     smaller than 40 can still meet Rule 23’s numerosity requirement. See Rannis, 380 Fed.
20
     Appx. at 650-6652 (affirming numerosity finding on class size of 20); Tietz v. Bowen,
21
     695 F. Supp. 441, 445-446 (N.D. Cal. 1987) (class of 27 members certified). In view
22
     of this precedent, Plaintiff’s putative class meets the numerosity requirement. See
23
     Bjork Dec. (Class Lists), Ex. F.
24
              While Plaintiff’s class size alone is enough, the fact that the putative class is
25
     geographically dispersed throughout the country further bolsters a finding of
26
     numerosity. Pole v. Estenson Logistics, LLC, 2016 U.S. Dist. LEXIS 105789, at **14-
27
     16 (C.D. Cal. Aug. 10, 2016) (finding that geographical diversity of class members
28
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1    favored certification); Valdez v. Neil Jones Food Co., 2014 U.S. Dist. LEXIS 111766,
2    at *11 (E.D. Cal. Aug. 11, 2014) (“A variety of factors have been found to be relevant
3    to the whether joinder of the class members would be impracticable, including…the
4    geographical spread of class members…”). It would be impracticable and burdensome
5    on individual class members – many of whom live hundreds or even thousands of
6    miles from this district – to join this lawsuit in order to prosecute claims many of
7    which are worth as little as a few thousand dollars. See Bjork Dec. (Class Lists), Ex. F.
8    For this additional reason, joinder is not feasible and a class proceeding is the
9    appropriate way to adjudicate this dispute.
10            3.       The claims of Plaintiff and class members share common questions of
                       fact and law.
11
              Under Rule 23(a)(2), a plaintiff must show there are “questions of law or fact
12
     common to the class” to which a class-wide proceeding has the capacity to generate
13
     common answers. See Nitch v. Dreamworks Animation SKG, Inc., 315 F.R.D. 270,
14
     283 (N.D. Cal. 2016) (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350
15
     (2011)). This means that the class claims must depend on a common contention and
16
     that the “…determination of its truth or falsity will resolve an issue that is central to
17
     the validity of each one of the claims in one stroke.” See Flo & Eddie Inc. v. Sirius XM
18
     Radio, Inc., 2015 U.S. Dist. LEXIS 98656, at *29 (C.D. Cal. May 27, 2015) (citing
19
     Wal-Mart, 564 U.S. at 338). The standard is not a particularly stringent one as even a
20
     “single common question” will do. Nitch, 315 F.R.D. at 283.
21
              Commonality is satisfied here because the core factual and legal issues are the
22
     same for Plaintiff and every other putative class member. Factually, each class
23
     member’s claim is premised on the same core conduct by Defendant – lapsing of a
24
     policy that was renewed in California for non-payment of premium after the Effective
25
     Date and to which the Notices were not sent prior to lapse. Given Defendant’s
26
     admitted company-wide practice of not issuing the Notices in these circumstances, the
27
     factual proof of Defendant’s conduct can and will be shown through common, class-
28
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1    wide evidence. See Bjork Dec. (Kallenbach Tran.), Ex. C at 39:10-19; 45:23-47:17;
2    51:11-56:7; 57:10-60:3. So too will Defendant’s bad faith because Defendant
3    developed and applied its position regarding the applicability of the Statutes to
4    renewals to all class members in a uniform manner. See Bjork Dec. (Kallenbach
5    Tran.), Ex. C at 39:10-19; 45:23-47:17; 51:11-56:7; 57:10-60:3; Bjork Dec.
6    (Meyerring Tran.), Ex. D., at 30:15-33:2; 36:20-48:8.
7             Similarly, with regard to the legal issues, commonality exists because each class
8    member’s claim is based on the same central legal determination: whether the Notices
9    are required for renewals of policies in California after the Effective Date. Plaintiff’s
10   claim, and those of every class member, hinge on the Court’s answer to this common
11   question. If the Court determines the Notices were required, then the breach necessary
12   for each class member’s contract and bad faith claims will be established. If the Court
13   rules to the contrary, the opposite will be true. Because the fate of all class member
14   claims can be determined in one stroke. Commonality is, by definition, satisfied.
15            The case of Johnson v. Hartford Cas. Ins. Co., 2017 U.S. Dist. LEXIS 77482
16   (N.D. Cal. May 22, 2017) is directly on point. In Johnson, a class of property
17   insurance policyowners challenged defendant insurance company’s practice of
18   depreciating insured property for payout purposes that was not normally subject to
19   repair. Id. at **2-5. Plaintiffs alleged that the defendant’s practice – which was applied
20   to all class members - violated certain California Insurance Code provisions
21   prohibiting depreciation in such circumstances and constituted breach of contract and
22   bad faith. Id. at **2-5, 25-28. The Court certified the class because each of the class
23   member’s claims was based on the same conduct, the legality of which could be
24   decided for all based on the Court’s interpretation of the applicable Insurance Code
25   provisions. Id. at **35-36. See also Durant v. State Farm Mut. Auto. Ins. Co., 2017
26   U.S. Dist. LEXIS 34157, at **10-11 (D. Wash. March 9, 2017)(commonality found
27   for class of auto insurance policyowners because defendant auto insurance provider
28
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1    denied each of their claims based on a uniform policy interpretation and therefore the
2    legality of defendant’s practice could be decided commonly); Flo & Eddie, 2015 U.S.
3    Dist. LEXIS 98656 at **29-30 (class of copyright owners certified in part because the
4    conduct alleged against defendant– unlawful broadcasting of plaintiffs’ songs without
5    a license – as well as the core legal determination – whether the alleged broadcasting
6    required prior owner authorization under California law – was common and could be
7    decided for each class member uniformly ); Vaccarino, 2013 U.S. Dist. LEXIS 88612
8    at **17-20 (commonality satisfied because defendant’s challenged practice of annuity
9    bonus recoupment was applied to all class members in the same manner).
10            As in Johnson and the other cited authority, Defendant’s conduct, and the
11   analysis necessary to determine its legality, is common to Plaintiff and every other
12   class member. Therefore, commonality exists here.
13            4.       Plaintiff’s claims are typical because they are directly aligned with all
                       putative class members.
14
              The purpose of the typicality requirement is “…to assure that the interest of the
15
     named representative aligns with the interests of the class.” Wolin v. Jaguar Land
16
     Rover North Am., LLC, 617 F.3d 1168, 1175-1176 (9th Cir. 2010). This is a lenient
17
     requirement. See Parsons v. Ryan, 754 F.3d 657, 685 (9th Cir. 2014). It is not
18
     necessary that the class-member claims and representative claims be “substantially
19
     identical.” Id. All that is necessary is that representative claims be “reasonably co-
20
     extensive with those of absent class members.” Hanlon v. Chrysler Corp., 150 F.3d
21
     1011, 1020 (9th Cir. 1998).
22
              Plaintiff’s claims are not only “reasonably co-extensive” with those of her
23
     putative class, they are identical. The defendant (United of Omaha), the Statutes (Cal.
24
     Ins. Code sections 10113.71-10113.72), the wrongful conduct (failure to provide the
25
     Notices under the Statutes prior to a policy lapse), the causes of action (breach of
26
     contract and bad faith), the principal defense (that a renewal in California does not
27
     trigger the Statutes), the remedy (the amount due on the policy as required by statute),
28
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1    and the harm sustained (loss of the policy proceeds) are the same and so, the Rule
2    23(a)(3) typicality requirement is met.
3             The case of Ballas v. Anthem Blue Cross Life & Health Ins. Co., 2013 U.S. Dist.
4    LEXIS 199523 (C.D. Cal. Apr. 29, 2013) is instructive. There, plaintiff filed a class
5    action on behalf of individuals with life insurance policies issued by the defendant all
6    of whom were denied coverage for the same type of back procedure. Id. at **3-4. In
7    each instance, the defendant denied coverage under a “blanket” policy determination
8    that the requested procedure was “experimental” and therefore not covered. Id. at
9    **27-28. In certifying the class, the Court found that plaintiff was typical because he
10   suffered the same injury – denial of coverage – from the same conduct by defendant –
11   an adverse blanket policy determination. Id. Given the similar fact pattern in this case,
12   a finding of typicality is justified.
13            5.       Plaintiff is an adequate representative because her claims reflect the
                       overall class’s claims, she and the class have shared objectives and
14                     she has retained competent counsel to prosecute her suit.
15            For many of the same reasons Plaintiff’s claims are typical, Plaintiff is also an
16   adequate class representative. Rule 23(a)(4)’s adequacy requirement mandates that a
17   representative plaintiff “fairly and adequately protect the interests of the class.” See
18   Boyd v. Bank of Am. Corp., 300 F.R.D 431, 438 (C.D. Cal. 2014). To satisfy the
19   requirement, a plaintiff must show that its interests are not antagonistic to those of the
20   class and that it is able to prosecute the action vigorously through qualified and
21   competent counsel. See Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1239 (9th
22   Cir. 1998).
23            With regard to Plaintiff’s interests, they are shared by all class members.
24   Plaintiff’s fundamental objective in this litigation is to obtain a ruling that a policy
25   renewal in California after the Effective Date triggers the Statutes’ obligations. If
26   Plaintiff prevails on this central issue, she and all class members benefit. If she does
27   not, her claims, and those of the other class members, fail. So, Plaintiff has every
28
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1    incentive to vigorously pursue her and the class’s claim on their mutual, collective
2    behalf. This is especially true given that Plaintiff’s $1 million claim is the largest in
3    the class. See Bjork Dec. (Class Lists), Ex. F. Moreover, Plaintiff has demonstrated -
4    through her knowledge of the case, her extensive litigation efforts to date and her
5    attested willingness to do what is necessary going forward - that she can and will
6    adequately and competently fulfill her class- representative obligations. See Bjork
7    Dec. (Bentley Dec.) Ex. G at ¶¶ 3, 5-7. There is no antagonism between Plaintiff and
8    the class. Plaintiff is an adequate class representative. See Ellsworth, 2014 U.S. LEXIS
9    81646 at **59-60 (adequacy established because class representative suffered “same
10   injuries” and had “common claims and shared interests” as the putative class).
11            As for her legal representation, Plaintiff’s attorneys have diligently litigated this
12   case to date, have years of collective experience in the class action context, have
13   extensive collective backgrounds in the insurance arena and have successfully
14   resolved numerous class and other actions through judgment, settlement and trial. See
15   Bjork Dec. (Attorney Descriptions), Ex. H. Plaintiff has retained counsel who are
16   competent and qualified to adequately represent her and the class.
17            Pursuant to Fed. R. Civ. Proc. 23(g), Plaintiff additionally requests that her
18   counsel Joseph Vanek of Vanek Vickers & Masini and Jason Zweig of Hagens
19   Berman Sobol & Shapiro be appointed as class counsel. For many of the same reasons
20   they satisfy the adequacy requirement, Messrs. Vanek and Zweig would be effective
21   class counsel. They, along with Sperling & Slater and Klevatt & Associates, who are
22   also representing Plaintiff, have extensive individual and common experience in
23   commercial litigation, and, in particular, insurance and class-action matters. Id.
24   Moreover, they possess the resources – both human and financial – to effectively
25   litigate this matter to conclusion. Id. Their appointment as lead counsel is justified and
26   respectfully requested.
27
28
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1             6.       Defendant’s argument concerning an alleged unique defense against
                       a segment of putative class members is wrong and would not defeat
2                      class certification.
3             In its Motion to Deny Certification, Defendant argued that Plaintiff is
4    inadequate or atypical of, and lacks commonality with, a segment of the class who are
5    beneficiaries of policies issued outside of California, but later renewed in California
6    (i.e. insured moved to California and the policy continued in force beyond an
7    anniversary date). See Dkt No. 111-1 at pp. 16-19. According to Defendant,
8    beneficiaries of such policies are subject to a material unique defense regarding the
9    applicability of the Statutes that Plaintiff is not. Id. Defendant was wrong when it
10   made the argument previously and would be wrong insofar as it makes the argument
11   again in opposition to this Motion.
12            First, all members of Plaintiff’s putative class – regardless of where the policy
13   was initially issued or delivered – have claims based on policies that were renewed in
14   California by Defendant. Thus, they all have claims that will rise and fall on the same
15   core disputed issue in the case - whether a renewal of a policy in California after the
16   Effective Date triggers the Statutes’ notice requirements. Plaintiff has every reason to
17   pursue such claims, and, there is no conflict between her claim and those whose
18   policies were initially issued outside of California, but later renewed in California.
19            Second, even if Defendant was correct that non-California issued policies were
20   subject to some sort of unique defense – which it is not - such a defense would not
21   make Plaintiff atypical or inadequate, nor would it defeat commonality. Class-action
22   defendants have unsuccessfully attempted to defeat class certification on these
23   grounds in the past. For example, in Barnes v. AT&T Pension Benefit Plan, 270 F.R.D.
24   488 (N.D. Cal. 2010), the plaintiff filed an ERISA class action based on the
25   defendant’s alleged failure to fully pay promised retirement benefits. The defendant
26   attempted to defeat class certification by arguing that some class members, but not the
27   class representative, were subject to a variety of defenses such as the statute of
28
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1    limitations, waiver, estoppel and laches. Like Defendant here, the defendant in Barnes
2    argued these “unique” defenses against other class members made the plaintiff an
3    atypical and inadequate representative, and precluded a commonalty finding. Id. at
4    493-495. The court disagreed. With regard to commonality, the court held, “[t]he mere
5    existence of factual differences between a class representative and the class he seeks to
6    represent does not [ ] provide grounds for finding an absence of commonality.” Id. at
7    493. As for typicality, the court stated “defenses that may bar recovery for some
8    members of the putative class, but that are not applicable to the class representative do
9    not render a class representative atypical under Rule 23.” Id. at 494. Finally, as to
10   adequacy, the court ruled that “…the potential existence of [the alleged unique]
11   defenses against absent class members does not, standing alone, make [the class
12   representative] inadequate.” Id. at 493.
13            Numerous other cases from this circuit and elsewhere are in accord with Barnes.
14   See e.g., Nitsch, 315 F.R.D. at 283-285 (holding that arbitration and release defenses
15   applicable to some class members but not the class representative did not defeat
16   adequacy or typicality); Boyd, 300 F.R.D. at 439 (“there is no authority for the
17   proposition that an affirmative defense, which may affect some members of the class,
18   creates a conflict that otherwise defeats adequacy of a proposed class representative”);
19   Winkler v. DTE, Inc., 205 F.R.D. 235, 242 (D. Ariz. 2001) (rejecting a typicality
20   challenge based on purported unique defenses against class members because any such
21   defenses were “insufficient to overshadow the fact that the class’ claims are based on a
22   common course of conduct and common legal theories”); In re Scientific-Atlanta Inc.
23   Sec. Litig., 571 F. Supp. 2d 1315, 1326-28, 1331-1332 (N.D. Ga. 2007) (refusing to
24   deny certification on typicality and adequacy grounds in a securities case despite many
25   putative class members being subject to reliance based defenses that did not concern
26   the class representatives). Should Defendant raise its “unique defense” argument again
27
28
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1    in its opposition, Plaintiff submits that the Court should follow the lead of the
2    foregoing courts and refuse to deny class certification on this basis.
3    B.       Plaintiff’s class satisfies Rule 23(b)(3) because common issues of fact and
              law predominate and a class action is the superior method of adjudication.
4
              To achieve certification under Rule 23(b)(3), there must be “questions of law or
5
     fact common to the members that predominate over any questions affecting only
6
     individual members” and a class proceeding must be “superior to other available
7
     methods for fair and efficient adjudication of the controversy. See Fed.R.Civ.Proc.
8
     23(b)(3). As with Rule 23(a), Plaintiff and her putative class clearly meet each of the
9
     requirements of Rule 23(b)(3).
10
              1.       Nearly every material factual and legal issue in this matter –
11                     concerning both liability and damages - is common to the class and
                       such common issues predominate over any individual inquiries.
12
              The predominance test gauges “whether proposed classes are sufficiently
13
     cohesive to warrant adjudication by representation…[and] focuses on the relationship
14
     between the common and individual issues.” See Hanlon, 150 F.3d at 1022. The test is
15
     satisfied when “common questions present a significant aspect of the case and they
16
     can be resolved for all members of the class in a single adjudication.” Id. Establishing
17
     predominance “does not require plaintiffs to prove that every element of a claim is
18
     subject to class-wide proof: they need only show that common questions predominate
19
     over questions affecting only individual class members.” In re: Cathode Ray Tube
20
     (CRT) Antitrust Litig., 2013 U.S. Dist. LEXIS 137946, at *67 (N.D. Cal. Sep. 24,
21
     2013).
22
              Predominance clearly exists here because common issues abound. Indeed, it is
23
     difficult to come up with any material individual issues that cannot be adjudicated
24
     class-wide.
25
26
27
28
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1                      a.      Common evidence and common legal determinations
                               predominate the contract claims.
2
              To prove Defendant’s liability for breach of contract, common evidence will be
3
     used to establish the following facts: 1) Defendant issued life-insurance policies to the
4
     policyowners of each policy to which each class member is a beneficiary; 2) each such
5
     policy was in force after the Effective Date; 3) Defendant renewed each such policy in
6
     California at least once after the Effective Date; 4) Defendant lapsed each such policy
7
     after the Effective date for non-payment of a premium; 5) Defendant did not provide
8
     the policyowners of such policies Notices to designate third parties of pending lapses
9
     prior to lapse; 6) the insureds on each such policy have passed away; and 7) despite
10
     the deaths of the insureds, Defendant has not paid out the policy proceeds to the class
11
     members. See Bjork Dec. (Kallenbach Tran.), Ex. C at 39:10-19; 45:23-47:17; 51:11-
12
     56:7; 57:10-60:3; Bjork Dec. (Class Lists), Ex. F. These facts, nearly all which have
13
     already been admitted by Defendant, are uniform to each class member and underlie
14
     each of their respective contract claims. See Oasis West Realty, LLC v. Goldman, 51
15
     Cal. 4th 811, 821, 250 P.3d 1115, 1121 (2011) (“…the elements of a cause of action
16
     for breach of contract are (1) the existence of the contract, (2) plaintiff’s performance
17
     or excuse for nonperformance, (3) defendant’s breach, and (4) the resulting damages
18
     to the plaintiff.)
19
              As with the factual analysis, the core legal determination for the Court is the
20
     same for all class members. Whether Defendant breached its contracts by not
21
     providing the Notices is common to every class member, requires a single analysis of
22
     a single-state’s Statutes and will determine the outcome of every class-member’s
23
     claim. Moreover, even the legal assessment of damages is uniform across the class.
24
     The quantum of damage – the face amount of the policy – and prejudgment interest is
25
     set by California statute. See Cal. Ins. Code § 10111 (“In life or disability insurance,
26
     the only measure of liability and damage is the sum or sums payable in the manner
27
     and at the times as provided in the policy to the person entitled thereto”); Cal. Civ.
28
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1    Code § 3289 (prejudgment interest). The damage analysis is thus straightforward
2    arithmetic of adding up the policy values and the prejudgment interest from date of
3    death of the insured, it is applicable to all class members and it is directly tied to the
4    liability (that is, the breach) Plaintiff is attempting to prove.7
5             Courts have routinely held that breach of contract claims similar to Plaintiff’s
6    satisfy the predominance requirement. See Johnson, 2017 U.S. Dist. LEXIS 77482 at
7    **41-44 (finding predominance in class claims for breach of insurance contracts
8    because “[Plaintiff’s] claims revolve around [Defendant’s] alleged failure to pay the
9    amount it owes under its insurance contracts to the insured… These questions, which
10   pertain to every class member, can be resolved through the interpretation of one
11   statute, Section 2051, and the same factual determinations”); Durant, 2017 U.S. Dist.
12   LEXIS 34157 at **14-16 (holding that predominance satisfied for insurance-breach-
13   of-contract class action because the legality of defendant’s uniform standard of
14   denying claims was central to defendant’s liability to each class member); Miletak v.
15   Allstate Ins. Co., 2010 U.S. Dist. LEXIS 26913, at **34-35 (N.D. Cal. Mar. 5, 2010)
16   (common issues deemed predominant where defendant’s practice of inducing early
17   insurance premium payments in alleged violation of contract was the same for all
18   plaintiffs). Plaintiff submits that this Court should do the same.
19                     b.      Common facts and legal analysis predominate the bad faith
                               claims.
20
              The common evidence applicable to the Plaintiff’s contract claim will also
21
     establish many of the facts underlying Plaintiff’s bad faith claim because a breach of
22
     contract is required for both. See Johnson, 2017 U.S. Dist. LEXIS 77482 at **26
23
     (“Under California law, without a breach of the insurance contract, there can be no
24
25            Even if Plaintiff’s damage calculation required extensive individualized
              7

26   analysis, which it does not, this would not defeat predominance. See Flo & Eddie,
     2015 U.S. Dist. LEXIS 98656 at *51 (“The Ninth Circuit has clearly held that denying
27   certification on the basis of individualized damages issues is an abuse of discretion”)
28   (relying on Leyva v. Medline Indus., 716 F.3d 510, 513-14 (9th Cir. 2013)).
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1    breach of the implied covenant of good faith and fair dealing.”). The additional
2    evidence of bad faith Plaintiff will rely on – which will demonstrate that Defendant’s
3    investigation of the Statutes’ scope and uniform failure to issue the Notices was
4    unreasonable – will also be common to all claims. Such common evidence will
5    include, without limitation, Defendant and third-party records and testimony showing
6    that: 1) Defendant developed its view and position on the Statutes in early 2013
7    without directly consulting any legal counsel, the California Department of Insurance
8    or any trade associations; 2) Defendant applied its early 2013 interpretation of the
9    Statutes to all the policies in Plaintiff’s putative class; 3) Defendant has continued to
10   apply this interpretation and has not reinstated any previously lapsed policies despite
11   rulings by the Court at odds with Defendant’s view; 4) Defendant was aware, no later
12   than early 2013, that there were questions in the industry about the Statutes’
13   applicability to renewals and that an industry association had reported the Statutes
14   applied to renewals; and 5) unlike Defendant, at least one other insurer began issuing
15   the Notices on the Effective date regardless of the policies’ issuance date. See Bjork
16   Dec. (Meyerring Tran.), Ex. D at 32:2-33:2; 36:20-48:8; Kallenbach Tran., Ex. C at
17   39:10-19, 45:23-47:17, 51:11-56:7, 57:10-60:3, 63:8-64:5, 66:25-67:5; Bjork Dec.
18   (NW Dec.), Ex. E at ¶6.
19            Like the evidence, the Court’s legal analysis of the bad-faith claim is common
20   in nature. Either Defendant was reasonable in its development and application of its
21   blanket policy that the Statutes do not cover renewals or it was not. To answer this
22   question, the Court need not examine any individual circumstances, but rather, must
23   simply assess the facts of Defendant’s common conduct in light of the law. The
24   Court’s answer to the question – whatever it may be – will resolve the bad-faith claims
25   of each and every class member.
26            Defendant is expected to argue that the class cannot be certified because it
27   includes those who intentionally allowed their policies to lapse, for whatever reason.
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1    Specifically, Defendant is expected to argue that Plaintiff’s divorce from her husband
2    is relevant to whether he intended to let the policy lapse. Defendant’s justification for
3    this intrusive discovery is contradicted by the Statutes’ language, which nowhere
4    indicate that the intention of the policyowners dictate whether the Notices are or are
5    not required. Moreover, the imposition requirement Defendant argues should apply –
6    i.e. the absence of a desire by the policy-owner to let the policy lapse – is at odds with
7    the statutory objective of protecting policy-owners, who may not be of sound mind at
8    or near the time of their deaths.
9             For these reasons, common issues predominate Plaintiff’s bad faith claim just as
10   they do Plaintiff’s contract claim. See Johnson, 2017 U.S. Dist. LEXIS 77482 at **5,
11   42-44 (certifying bad-faith class action and rejecting contention by defendant that bad-
12   faith legal and factual analysis must be individual); Vaccarino, 2013 U.S. Dist. LEXIS
13   88612 at *58-59 (certifying a class of bad-faith claimants in part because “[t]he duty
14   of good faith and fair dealing is assessed under an objective standard under California
15   law, making this claim suitable for class treatment.”)
16            2.       Class adjudication of this dispute is far superior to individual
                       lawsuits.
17
              Rule 23(b)(3)’s superiority requirement tests whether a class action is the most
18
     efficient and effective means of resolving the controversy. Wolin, 617 F.3d at 1175.
19
     Factors to consider in assessing superiority include, the class member’s interests in
20
     individually controlling the prosecution or defense of separate actions; the extent and
21
     nature of any litigation concerning the controversy already begun by or against class
22
     members; the desirability or undesirability of concentrating the litigation of the claims
23
     in the particular forum; and the likely difficulties in managing a class action.
24
     Ellsworth, 2014 U.S. LEXIS 81646 at * 98. The objective of the superiority analysis is
25
     to “focus on efficiency and economy so that appropriate cases may be adjudicated
26
     most profitably on a representative basis.” Id.
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1             Class treatment of this dispute is far superior to individual adjudication for a
2    number of reasons. First, absent this class proceeding, putative class members would
3    likely never vindicate their rights against Defendant. Many have claims that amount to
4    only a few thousand dollars, which would quickly be dissipated by legal fees and other
5    costs associated with prosecuting their claims. Bjork Dec. (Class Lists), Ex. F. This is
6    especially true given Defendant’s willingness to aggressively litigate and spare no
7    expense as shown by its repeated motions to dismiss (Dkt. Nos. 22, 89), a motion for
8    interlocutory appeal (Dkt. No. 30), a lengthy premature certification motion (Dkt. No.
9    111), the issuance of subpoenas to Plaintiff’s and her husband’s divorce lawyers
10   covering sensitive, irrelevant information (See Defendant Divorce Lawyer
11   Subpoenas,) “Exhibit I” and extensive deposition questioning of Plaintiff regarding
12   the wholly irrelevant and painful topic of her divorce from her husband prior to his
13   death. See Bentley Declaration at ¶6. See Flo & Eddie, 2015 U.S. Dist. LEXIS 98656
14   at *53-54 (class format held to be superior in part because defendant’s aggressive
15   litigation tactics would make it cost prohibitive for class members with smaller value
16   claims to pursue them individually).
17            Furthermore, without class notice, most, and likely all, class members will never
18   know they have a claim. Because the class consists of beneficiaries, not policyowners,
19   it is unlikely that they are aware of Defendant’s conduct. In fact, Defendant’s
20   resistance to Plaintiff’s effort to learn their identities – which required a motion to
21   compel that was granted by Judge Wistrich (Dkt. No. 118) - indicates that Defendant
22   is actively attempting to keep them in the dark such that individual actions are never
23   filed.
24            Second, the record is devoid of any other suits or claims against Defendant on
25   this issue, indicating that Defendant’s efforts to date have been a success. This absence
26   of other actions favors a superiority determination because it further demonstrates that
27   individual suits are not a viable alternative to class treatment and that class
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1    adjudication will not disrupt any other ongoing proceedings covering the same subject
2    matter. See Alba, 2007 U.S. Dist. LEXIS 28079 at *46 (superiority found in part
3    because “the record does not contain any information about other pending lawsuits
4    that might need to be enjoined, and this factor therefore also weighs in favor of class
5    certification.”); Johnson, 2017 U.S. Dist. LEXIS 77482 at **47-48 (“No other suits
6    have been brought involving the same subject matter as the present action… . This
7    indicates that individual parties are either unable or unwilling to seek individual
8    litigation on their own behalf, and supports certification.”)
9             Finally, litigating the class’ claims through one action in a single forum is the
10   sensible way to proceed in terms of both judicial efficiency and equity. As discussed
11   throughout this Motion, the factual and legal bases for Plaintiff’s claims are shared by
12   each class member and can be managed and decided in “one stroke” by the Court. To
13   have multiple courts decide these identical claims across various forums would be a
14   misuse of judicial, party and attorney resources that could lead to inconsistent
15   judgments and confusion. Such resource and management considerations further
16   demonstrate the superiority of deciding this case on a class basis. Vaccarino, 2013
17   U.S. Dist. LEXIS 88612 at *59 (“This case presents a number of issues capable of
18   resolution with a ‘single stroke’ which makes the class action vehicle the most
19   effective method for fairly and efficiently adjudicating class members’ rights.”);
20   Johnson, 2017 U.S. Dist. LEXIS 77482 at **47-48 (“A situation in which numerous
21   lawsuits surrounding the same question… in which each court must make a
22   determination, would produce confusion and uneven and inequitable results.”)
23                                              IV.     CONCLUSION
24            For the foregoing reasons, Plaintiff respectfully requests that the Court certify
25   Plaintiff’s proposed class, appoint Plaintiff as class representative and appoint Joseph
26   Vanek of Vanek Vickers & Masini and Jason Zweig of Hagens Berman Sobol &
27   Shapiro as Class Counsel.
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